         Case 24-57818-lrc                  Doc 24              Filed 08/27/24 Entered 08/29/24 08:56:02                                      Desc Main
                                                                Document      Page 1 of 5

 Fill in this information to identify your case:


 Debtor 1           Basirat                                       Lawal
                    First Name              Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name             Middle Name                   Last Name


 United States Bankruptcy Court for the:                  District of

                      24-57818                                               Filed in U.S. Bankruptcy ( ouri
 Case number                                                                                                 Check if this is:
 (If known)                                                                   Northern District of Geor ia
                                                                                  Vania S. Allen, Clerk      liJ An amended filing
                                                                                                                0 A supplement showing postpetition chapter 13
                                                                                       AUG 2.7 2024                   income as of the following date:
Official Form 1061                                                         By:                                        MM / DD/ YYYY
                                                                                        Deputy Clerk
Schedule I: Your Income                                                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1 Fill in your employment
  information.                                                                  Debtor 1                                         Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional           Employment status                  0 Employed                                         U    Employed
    employers.                                                                      Not employed                                 0 Not employed
    Include part-time, seasonal, or
    self-employed work.
                                           Occupation
    Occupation may include student
    or homemaker, if it applies.
                                           Employer's name


                                           Employer's address
                                                                             Number Street                                     Number    Street




                                                                             City                  State   ZIP Code            City                 State ZIP Code

                                           How long employed there?



  Part 2:           Give Details About Monthly Income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
     below. If you need more space, attach a separate sheet to this form.

                                                                                                           For Debtor 1         For Debtor 2 or
                                                                                                                                non-filing spouse

  2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.                   2.                 0.00                  0.00

  3. Estimate and list monthly overtime pay.                                                       3. +$              0.00     +$           0.00


  4. Calculate gross income. Add line 2 + line 3.                                                  4.                 0.00                  0.00




Official Form 1061                                                      Schedule I: Your Income                                                           page 1
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Debtor 1      Basirat                                        Lawal                              Case number (if known)   24-57818
               First Name    Middle Name         Last Name



                                                                                               For Debtor 1              For Debtor 2 or
                                                                                                                         non-filinq spouse

   Copy line 4 here                                                                 4 4.       $          0.00                       0.00

 5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                 5a.     $          0.00             $         0.00
     5b. Mandatory contributions for retirement plans                                  5b.     $          0.00             $         0.00
     5c. Voluntary contributions for retirement plans                                  5c.     $          0.00             $         0.00
     5d. Required repayments of retirement fund loans                                  5d.     $          0.00             $         0.00

     5e. Insurance                                                                     5e.     $          0.00             $         0.00

     5f. Domestic support obligations                                                  5f.     $          0.00             $         0.00

                                                                                       5g.     $          0.00             $         0.00
     5g. Union dues
     5h. Other deductions. Specify: 0                                                  5h. +$             0.00           + $         0.00

  6 Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.         6.     $          0.00                       0.00


  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                7      $          0.00                       0.00


 8 List all other income regularly received:
     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                   $          0.00             $         0.00
           monthly net income.                                                         8a.
     8b. Interest and dividends                                                        8b.     $          0.00             $         0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
         Include alimony, spousal support, child support, maintenance, divorce                             0.00                       0.00
                                                                                               $                           $
         settlement, and property settlement.                                  8c.
     8d. Unemployment compensation                                                      8d.    $                           $
     8e. Social Security                                                                8e.    $                           $
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: 2,669                                                            8f.         $           0.00             $         0.00

      8g. Pension or retirement income                                                  8g.                0.00                       0.00

      8h. Other monthly income. Specify:     0                                          8h. +$             0.00          +$           0.00
  9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.              9.                 0.00                       0.00

:10. Calculate monthly income. Add line 7 + line 9.
                                                                                                           0.00                       0.00                      0.00
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.         10.

 11 State all other regular contributions to the expenses that you list in Schedule J
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
     Specify: 2,669                                                                                                                          11.   $     2,669.00

 12.Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                       12.   $     2,669.00
                                                                                                                                                   Combined
                                                                                                                                                   monthly income
  13.Do you expect an increase or decrease within the year after you file this form?
        No.
      U Yes. Explain:


 Official Form 1061                                                  Schedule 1: Your Income                                                           page 2
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  Fill in this information to identify your case:

  Debtor 1             Basirat                                               Lawal
                        First Name               Middle Name                   Last Name                      Check if this is:
  Debtor 2                                                                                                    0 An amended filing
  (Spouse, if filing) First Name                 Middle Name                   Last Name

                                                                                                              CI A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the:                      District of
                                                                                                                  expenses as of the following date:
  Case number 24-57818                                                                                            MM / DD/ YYYY
   (If known)



 Official Form 106J
 Schedule J: Your Expenses                                                                                                                                     12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

 Part 1:               Describe Your Household

1. Is this a joint case?

    g      No. Go to line 2.
   0 Yes. Does Debtor 2 live in a separate household?
                  •     No
                  O Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                  Ei No
                                                                                           Dependent's relationship to              Dependent's    Does dependent live
    Do not list Debtor 1 and                g       Yes. Fill out this information for     Debtor 1 or Debtor 2                     age            with you?
    Debtor 2.                                       each dependent
                                                                                                                                                   El No
    Do not state the dependents'                                                           Child                                    3
    names.                                                                                                                                         O    Yes

                                                                                                                                                   O No
                                                                                                                                                   Li Yes
                                                                                                                                                   O No
                                                                                                                                                   O Yes

                                                                                                                                                   •    No
                                                                                                                                                   O Yes

                                                                                                                                                   LI No
                                                                                                                                                   O Yes

3. Do your expenses include
                                             •      No
   expenses of people other than
   yourself and your dependents?             O Yes


Part 2:               Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule!: Your Income (Official Form 1061.)                                                   Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                          0.00
        any rent for the ground or lot.                                                                                       4.

        If not included in line 4:
        4a. Real estate taxes                                                                                                 4a.                         0.00
        4b. Property, homeowner's, or renter's insurance                                                                      4b.                         0.00
        4c.      Home maintenance, repair, and upkeep expenses                                                                4c.                         0.00
        44:1.    Homeowner's association or condominium dues                                                                  4d.                         0.00

Official Form 106J                                                     Schedule J: Your Expenses                                                             page 1
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Debtor 1         Basirat                                        Lawal                     Case number (if known)   24-57818
                 First Name    Middle Name       Last Name




                                                                                                                          Your expenses

                                                                                                                                            0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                     5,

 6. Utilities:
      6a. Electricity, heat, natural gas                                                                           6a.    $                 0.00
      6b. Water, sewer, garbage collection                                                                         6b.    $                 0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                           6c.    $                50.00
      6d. Other. Specify:                                                                                          6d.    $                 0.00

 7. Food and housekeeping supplies                                                                                 7.     $               300.00

 8. Childcare and children's education costs                                                                       8.     $               700.00
 9. Clothing, laundry, and dry cleaning                                                                            9.     $               120.00
10. Personal care products and services                                                                            10.    $               198.45
11. Medical and dental expenses                                                                                    11.    $               150.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                          $           1,100.00
    Do not include car payments.                                                                                   12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                           13.    $                 0.00

14    Charitable contributions and religious donations                                                             14.    $                 5.00

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                          15a.   $                 0.00
      15b. Health insurance                                                                                        15b.   $                 0.00
      15c. Vehicle insurance                                                                                       15c.   $                 0.00
      15d. Other insurance. Specify:                                                                               15d.   $                 0.00

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                                     16.                      0.00

17    Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                              17a.   $                 0.00
      17b. Car payments for Vehicle 2                                                                              17b.   $                 0.00

      17c. Other. Specify:                                                                                         17c.   $                 0.00

      17d. Other. Specify:                                                                                         17d.   $                 0.00

18    Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule!, Your Income (Official Form 1061).                                                                      0.00
                                                                                                                    18.   $

19. Other payments you make to support others who do not live with you.
      Specify:                                                                                                      19.   $                 0.00

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule!: Your Income.

      20a. Mortgages on other property                                                                             20a.                     0.00

      20b. Real estate taxes                                                                                       20b.                     0.00
      20c. Property, homeowner's, or renter's insurance                                                            20c.                     0.00
      20d. Maintenance, repair, and upkeep expenses                                                                20d.                     0.00
      20e. Homeowner's association or condominium dues                                                             20e.                     0.00


Official Form 106J                                            Schedule J: Your Expenses                                                     page 2
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 Debtor 1        Basirat                                          Lawal                         Case number (ifk..") 24-57818
                  First Narne   Middle Name        Last Name




21.    Other. Specify:                                                                                           21.    +$


22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                             22a.               2,623.45
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                     22b.                   0.00
       22c. Add line 22a and 22b. The result is your monthly expenses.                                          22c.               2,623.45


23. Calculate your monthly net income.
                                                                                                                                   2,669.00
      23a.    Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

      23b.    Copy your monthly expenses from line 22c above.                                                    23b.    $         2,623.45

      23c.    Subtract your monthly expenses from your monthly income.
                                                                                                                                      45.55
              The result is your monthly net income.                                                             23c.




24 Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      tif No.
      El Yes.        Explain here:




Official Form 106J                                              Schedule J: Your Expenses                                              page 3
